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No          IP        Port      Hit Date UTC                                         File Name                                                    File Hash                            ISP         Region
  1   174.239.4.237    3009   4/30/2018 3:23    Hitman's Bodyguard 2017 DUAL AUDIO 1080p HDRip‐x264‐[Eng‐Hin]AAC‐Zi$t‐WWRG   SHA1: 19A41E2D9425C1809EFE7FB0B4571C372F495E76   Verizon Wireless   Hawaii
  2   174.239.0.225    9499   4/27/2018 2:17    Hitman's Bodyguard 2017 DUAL AUDIO 1080p HDRip‐x264‐[Eng‐Hin]AAC‐Zi$t‐WWRG   SHA1: 19A41E2D9425C1809EFE7FB0B4571C372F495E76   Verizon Wireless   Hawaii
  3   174.239.3.63     5395   3/16/2018 8:18    Hitman's Bodyguard 2017 DUAL AUDIO 1080p HDRip‐x264‐[Eng‐Hin]AAC‐Zi$t‐WWRG   SHA1: 19A41E2D9425C1809EFE7FB0B4571C372F495E76   Verizon Wireless   Hawaii
  4   174.239.2.217   10215   3/15/2018 10:02   Hitman's Bodyguard 2017 DUAL AUDIO 1080p HDRip‐x264‐[Eng‐Hin]AAC‐Zi$t‐WWRG   SHA1: 19A41E2D9425C1809EFE7FB0B4571C372F495E76   Verizon Wireless   Hawaii



                                                Exhibit "1"
